        Case 2:15-cv-03333-JP Document 139 Filed 02/07/19 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SALVATORE CHIMENTI, et al.,
                                                     CIVIL ACTION NO: 15 Civ. 3333
                         Plaintiffs,

              v.                                             Judge John R. Padova

PENNSYLVANIA DEPARTMENT                oFF\LED
CORRECTIONS, et al.                        £.g O? 20\9           (Filed via ECF)
                                         f .            \e(\'.
                         Defendants.    ~.tuE~~. C\e
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Motion Seeking Final Approval of Class Action Settlement, and following a fairness hearing

regarding this motion held on February 5, 2019, the Court hereby finds the following:

       1. The Court finds that the Notice to the Class regarding the proposed Settlement

           Agreement was adequate.

       2. The Court considered the objections and comments to the Settlement Agreement from

           approximately 93 prisoners, and the Court overrules the objections.

       3. The Court evaluated the factors pursuant to Girsh v. Jepson, 521 F.2d 153 (3d Cir.

           1975) and In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions, 278 F.3d

           175 (3d Cir. 2002), and finds that the Settlement Agreement is fair, reasonable, and

           adequate.

       4. The Court reviewed the attorneys ' fees pursuant to In re Prudential Ins. Co. Am.

           Sales Practice Litig. Agent Actions, and finds that the attorneys' fees are fair and

           reasonable.
Case 2:15-cv-03333-JP Document 139 Filed 02/07/19 Page 2 of 2



Therefore, it is HEREBY ORDERED that:

1. The Joint Motion Seeking Final Approval of Class Action Settlement is GRANTED;

2. The Settlement Agreement is APPROVED pursuant to Federal Rule of Civil

   Procedure 23(e);

3. The attorneys' fees as outlined in the Settlement Agreement are GRANTED;

4. The Court expressly retains jurisdiction until June 30, 2022, as set forth in the

   Settlement Agreement, in order to enter any further orders that may be necessary or

   appropriate in administering or implementing the terms and provisions of the

   Settlement Agreement.
